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 5
   Attorneys for Plaintiff
 6

 7

 8
                                  UNITED STATES DISTRICT COURT
 9
              NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION
10

11
     LOUIE GONZALEZ,                                   Federal Case No.: 3:16-CV-05678-HSG
12
                   Plaintiff,
13
            vs.                                        STIPULATED REQUEST FOR
14                                                     DISMISSAL OF DEFENDANT
   EXPERIAN INFORMATION SOLUTIONS,                     EXPERIAN INFORMATION
15 INC.; et. al.,                                      SOLUTIONS, INC.; [PROPOSED] ORDER
16                 Defendants.

17

18 TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

19          IT IS HEREBY STIPULATED by and between plaintiff Louie Gonzalez and defendant

20 Experian Information Solutions, Inc. (“Experian”), that Experian be dismissed from this action

21 with prejudice pursuant to Federal Rules of Civil Procedure, section 41(a)(2), and that each party

22 shall bear its own attorneys’ fees and costs.

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27 //

28 //
                                                     1
     STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                      [PROPOSED] ORDER
        Case 4:16-cv-05678-HSG Document 46 Filed 02/13/17 Page 2 of 2



 1 DATED: February 10, 2017                     Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              Louie Gonzalez
 5
     DATED: February 10, 2017                   Jones Day
 6

 7

 8                                              By:          /s/ Alexandra McDonald
                                                                  Alexandra McDonald
 9
                                                Attorneys for Defendant
10                                              Experian Information Solutions, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Alexandra McDonald has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                               [PROPOSED] ORDER
16
             Pursuant to the stipulation of the Parties, Experian is dismissed with prejudice, and that
17
     each party shall bear its own attorneys’ fees and costs.
18
             IT IS SO ORDERED.
19

20
     DATED:      2/13/2017
21                                                 HAYWOOD S. GILLIAM, JR.
                                                   UNITED STATES DISTRICT JUDGE
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                                                        2
      STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                       [PROPOSED] ORDER
